                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

In re:                                           §        Chapter 11
                                                 §
WBH Energy, LP,                                  §        Case No. 15-10003-hcm
WBH Energy Partners LLC                          §        Case No. 15-10004-hcm
WBH Energy GP, LLC                               §        Case No. 15-10005-hcm
                                                 §
         Debtors.                                §        Jointly Administered


   U.S. ENERGY DEVELOPMENT CORPORATION’S DESIGNATION OF EXPERT
    WITNESSES IN CONNECTION WITH CONTESTED MATTER RELATED TO
  CL III FUNDING HOLDING COMPANY’S OBJECTIONS TO PROOFS OF CLAIM

         COMES NOW U.S. Energy Development Corporation (“USED”) and files its

Designation of Expert Witnesses in Connection with the Contested Matter Related to CL III

Funding Holding Company’s (“CL III”) Objection to Proofs of Claim as follows:

         1)        Eric J. Taube and/or Mark C. Taylor
                   Waller Lansden Dortch & Davis, LLP
                   100 Congress Avenue, Suite 1800
                   Austin, TX 78701
                   (512) 685-6400

         Mr. Taube and/or Mr. Taylor are expected to testify concerning the reasonableness and

necessity of the attorneys’ fees and costs incurred by USED in connection with enforcing the

JOA. Those fees and costs exceed $500,000, and Mr. Taube and Mr. Taylor will testify that such

fees and costs were reasonable and necessary both under Texas state law and under the factors

considered by bankruptcy courts in allowing recovery of fees and expenses. Mr. Taube and Mr.

Taylor may also testify concerning whether USED was a “prevailing party” as discussed in

USED’s Response to CL III’s claim objection. Both Mr. Taube and Mr. Taylor have testified

concerning the reasonableness and necessity of attorneys’ fees in state court and bankruptcy

courts in Texas. Their CVs are available at www.wallerlaw.com.



4814-1572-9199.1
                                           Respectfully submitted,

                                           WALLER LANSDEN DORTCH & DAVIS, LLP


                                           By: /s/ Eric J. Taube
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                                           ATTORNEYS FOR U.S. ENERGY
                                           DEVELOPMENT CORPORATION


                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been served
upon those parties receiving the Court’s ECF e-mail notification on this 14th day of March,
2016, including counsel for CL III as listed below.

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                                           /s/ Eric J. Taube
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